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                         IN THE UNITED ST ATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

RAYMOND SNOWDEN,                                       )
                                                       )
Plaintiff,                                             )               1:18-cv-03691
                                                       )
v.                                                     )
                                                       )
DE VILLE ASSET MANAGEMENT, LTD.,                       )
                                                       )
Defendant.                                             )

         NOTICE OF RECEIVERSHIP AND MOTION TO STAY PROCEEDINGS

        PLEASE TAKE NOTICE that on September 13, 2018, an Order Appointing Temporary

Receiver (Doc. No. 11) (the “Receivership Order”) was entered in the case styled Securities and

Exchange Commission v. Kevin B. Merrill, et al., Cause No. 1:18-cv-02844-RDB pending in the

United States District Court for the District of Maryland (the “Receivership Action”). A true and

correct copy of the Receivership Order is attached as Exhibit A and incorporated herein by

reference. Pursuant to the Receivership Order, a stay has been entered with respect to “[a]ll civil

legal proceedings of any nature . . . involving: . . . (c) any of the Receivership Parties, 1 including

subsidiaries and partnerships . . . . (such proceedings are hereinafter referred to as ‘Ancillary

Proceedings’).” Receivership Order at ¶ 34. “All Ancillary Proceedings are stayed in their

entirety, and all Courts having any jurisdiction thereof are enjoined from taking or permitting

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  The “Receivership Parties” are defined as: Kevin B. Merrill, Jay B. Ledford; Cameron R. Jezierski;
Global Credit Recovery, LLC; Delmarva Capital, LLC; Rhino Capital Holdings, LLC; Rhino Capital
Group, LLC; DeVille Asset Management LTD; Riverwalk Financial Corporation; K.B. Merrill
Associates; Financial Reclamation Group LLC; Halo Credit Solutions LLC; JBL Holdings LLC; Jay B.
Ledford, P.C.; the Joseph Finance Company; Leddy Bear LTD; Ledford & Associates, PLLC; King
Fischer LTD d/b/a LP Investments LTD; NLEX, Inc.; Receivables Portfolio Interchange, Inc.; Riverwalk
Capital Investments, Inc.; Riverwalk Credit Solutions, Inc.; Riverwalk Debt Solutions, Inc.; Riverwalk
Fixed Asset Group LLC; SCUSA Financial, Inc.; Vaquero Asset Management, Inc.; CRJ Holdings LLC;
Centurion Capital Corporation; GCR CBL CP I, LLC; GCR CBL CP II, LLC; GCR CBL CP III, LLC;
GCR CBL CP IV, LLC; GCR HCP Holdings 1, LLC; and GCR Mercer Holdings, LLC. Receivership
Order at ¶ 1.
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any action until further Order of [the] Court” in the Receivership Action. Receivership Order at

¶ 36.

         Defendant, DEVILLE ASSET MANAGEMENT, LTD. is a named party in this action.

Accordingly, DEVILLE ASSET MANAGEMENT, LTD., moves the Court to stay the

prosecution of this action consistent with the Receivership Order until further order of the Court

in the Receivership Action, and award all other just and proper relief in the premises.

Dated: November 6, 2018                       Respectfully submitted,


                                              /s/ Kevin C. Rasp
                                              Kevin C. Rasp (ARDN No. 6297481)
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                                              Attorney for DeVille Asset Management, Ltd.



                                 CERTIFICATE OF SERVICE

         I hereby certify that, on November 6, 2018, I filed the foregoing with the Court using the

Clerk of Court’s CM/ECF system, which will send electronic notice to all counsel of record:

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                                              /s/ Kevin C. Rasp
                                              Attorney for DeVille Asset Management, Ltd.
